       Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 1 of 20




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

L. LIN WOOD, JR.,                      )
                                       )
          Plaintiff,                   )
-vs-                                   )
                                       ) Case No. 1-21-cv-01169 TCB
PAULA J. FREDERICK, et al.,            )
                                       )
          Defendants.                  )


       PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR
                    PRELIMINARY INJUNCTION

       The Plaintiff respectfully submits this Memorandum In Support of Plaintiff’s

Motion For Preliminary Injunction.

       I. Introduction

    An attorney who fails or refuses to undergo a mental evaluation when requested

to do so by the Georgia State Disciplinary Board faces a grave and imminent threat

of serious disciplinary sanctions, including the emergency suspension of his law

license and ability to earn a livelihood.

       The Plaintiff seeks a preliminary injunction because he faces an imminent

threat of irreparable harm having been compelled by a government agency, acting

under color of state law, to submit to an involuntary medical examination of the

state’s choosing and without notice of any complaint from a client regarding his

conduct or competency as an attorney, and without evidence indicating that he
       Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 2 of 20




suffers from any mental illness, cognitive impairment, alcohol abuse or substance

abuse impairing his competency as a lawyer. Instead, the Defendants predicate their

demand for a mental evaluation on grievances by four, out-of-state, non-client

individuals who admit they have had no interaction with the Plaintiff and whose

complaints against the Plaintiff are based solely and exclusively on his public and

private speech on matters of national public interest. The Plaintiff seeks this Court’s

intervention in order to prevent the deprivation of his constitutional rights of privacy,

and to prevent future arbitrary enforcement by the Defendants of GA BAR RULE

4-104 in a manner that chills his right of free speech and denies him due process as

protected under the First and Fourteenth Amendments of the United States

Constitution.

      II.    Facts Supporting Requested Injunctive Relief

      L. Lin Wood is an attorney licensed to practice in the State of Georgia, and

was admitted to practice on June 10, 1977. He currently resides in South Carolina,

but maintains a law office in Atlanta, Georgia, and is actively engaged in the practice

of law serving as lead counsel in several complex litigation cases before state and

federal courts in the State of Georgia as well as several other jurisdictions.

      On January 11, 2021, Adrienne D. Nash, Grievance Counsel for the State Bar

of Georgia (“SBG”), sent two letters to Mr. Wood each enclosing a grievance it had

received.   One grievance, dated January 1, 2021, was from an individual in



                                           2
       Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 3 of 20




Hackensack, New Jersey, John Bellocchio; the other, dated December 17, 2020, was

from an individual in Maumee, Ohio named Ted Kurt. (Wood Affidavit at ¶ 4).

Both Mr. Bellocchio and Mr. Kurt admitted that they had never been in an attorney-

client relationship with Mr. Wood. In addition, neither has ever had any direct

contact with Mr. Wood.

      John Bellocchio’s grievance shockingly accused Mr. Wood of the crime of

treason under Georgia Code Section 16-11-1. (Wood Affidavit at ¶ 6). This false,

criminal accusation was based entirely on a single political comment made by Mr.

Wood on his personal Twitter account criticizing former Vice-President Pence. The

comment referenced by Mr. Bellocchio is pure rhetorical hyperbole by Mr. Wood

and is protected free speech on a matter of inherent, national public concern. (Wood

affidavit at paragraph 6).

      Similarly, the complaint filed by Ted Kurt, is a generalized grievance

regarding Mr. Wood’s “multiple court challenges to overturn Mr. Trump’s election

loss.” Like Mr. Bellocchio, Mr. Kurt bases his grievance on a post by Mr. Wood on

his personal Twitter account in December of 2020. The statement, which appears in

paragraph 9 of Mr. Wood’s affidavit, is a purely political comment by Mr. Wood

urging others to take certain precautions and to meet with the leaders in their

communities. Mr. Kurt falsely mischaracterized the Plaintiff’s political comment as

“seditious speech”. Id. at ¶ 9.



                                         3
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 4 of 20




      Neither Mr. Bellocchio nor Mr. Kurt accuse Mr. Wood of engaging in any

misconduct as an attorney directed toward any client; nor do they cite to any Rule of

Professional Conduct which they say he violated. Their sole criticism is leveled at

Mr. Wood’s exercise of his protected speech activity as a private citizen.

      On January 26, 2021, the SBG sent two additional letters to Mr. Wood, each

again enclosing a grievance from an out-of-state resident. One was from an

individual named Paul Fine, and attorney who resides in Chicago, Illinois; the other

was from an individual named Stacy Smith-Goldenberg, an attorney who resides in

Eugene, Oregon. (Wood Affidavit at ¶ 12). Both Mr. Fine and Ms. Goldenberg

admit that they were never in an attorney-client relationship with Mr. Wood and that

they have never spoken with him.

      Mr. Fine’s grievance was based on solely on a comment posted by Mr. Wood,

speaking as a private citizen, on his personal Twitter account that was critical of

former Vice President Mike Pence and allegedly published by Mr. Wood on January

1, 2021.

      Ms. Stacey Smith-Goldenberg falsely accused Mr. Wood of posting

comments on his personal Twitter account that she alleges incited the “riot and

insurrection at the U.S. Capitol on January 6, 2021.” (Wood Affidavit at ¶ 22).

      When notified of these grievances, Mr. Wood sent an email to Paula

Frederick, General Counsel for the SBG, on January 29, 2021 expressing his hope



                                         4
       Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 5 of 20




that the Executive Committee would make a wise decision and avoid a battle over a

medical exam that was both unjustified and based on complaints regarding his

exercise of free speech. (Id. at ¶ 29).

      Despite Mr. Wood’s request, on February 1, 2021, Defendant Margaret Ware

Sigman Puccini, acting on the grievance filed by Stacey Smith-Goldenberg of

Oregon, issued a subpoena to Mr. Wood’s former law firm: Wade, Grunberg, &

Wilson, LLC. The subpoena requested production of various documents pertaining

to a pending lawsuit between Wade, Grunberg & Wilson, LLC and Mr. Wood.

(Wood Affidavit at ¶ 26). This lawsuit, which is still in pending litigation in the

Fulton County Superior Court, involves sharply contested issues of fact and law

which have yet to be argued or decided.

      At the present time, no complaint or grievance has been filed by any present

or former client of Mr. Wood alleging that he has in any way conducted himself in

an unprofessional manner. No client has accused Mr. Wood of behaving in a manner

that calls into question his competency or mental acuity to faithfully perform his

duties as a member of the bar. No bar complaint has been filed against Mr. Wood by

any person or entity, including the State Bar of Georgia citing specific conduct by

him as a violation of a particular Rule of Professional Conduct.

      On February 11, 2021, Paula J. Frederick, acting in her capacities as both

General Counsel for the State Bar of Georgia and as a member of the Disciplinary



                                          5
          Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 6 of 20




Board of the State Bar of Georgia, sent a letter to Mr. Wood stating: On February

11, 2020, I received a letter via electronic mail from Ms. Paula Frederick which

stated:

      The Board did not reconsider its finding that Mr. Wood may be
      impaired or incapacitated to practice law. Pursuant to Bar Rule 4-104,
      the Board hereby requests that you consent to a confidential evaluation
      by a medical professional. The Board has preliminary identified a
      medical doctor who has agreed to perform the evaluation at the Bar’s
      expense” “Pursuant to Bar Rule 4-104, the Board hereby requests
      that you consent to a confidential evaluation by a medical
      professional.”

      Ms. Frederick closed her letter with the following admonition:

      Bar Rule 4-104 provides that a lawyer's refusal to participate in an
      evaluation recommended under the rule may be grounds for further
      proceedings under Bar Rules. If you decline to cooperate, I will
      convey that decision to the State Disciplinary Board so that they
      may decide how to proceed.

      (A true and correct copy of Ms. Frederick’s letter is Exhibit A in the Appendix

of Exhibits filed in support of this motion.)(emphasis not in original).

      The following day, on February 12, 2021, Defendant Christian Joseph

Steinmetz, III, sent to Mr. Wood a Notice of Investigation enclosing some 1,677

pages of documents. These documents consist of excerpts from four lawsuits and a

variety of public statements and private statements by Mr. Wood, including tweets

and social media posts. Three of the lawsuits are from jurisdictions outside the State

of Georgia in which Mr. Wood participated along with counsel in other states. The




                                          6
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 7 of 20




fourth one was a Georgia lawsuit in which Mr. Wood was himself the Plaintiff and

was represented by Georgia Attorney Ray S. Smith, III as counsel of record.

    The Plaintiff responded to Ms. Frederick’s February 11, 2021 determination

notice: “Likewise, any request for an independent medical examination, physical or

mental, raises serious privacy issues, among other significant concerns. . . . To date,

the Bar has not provided me with the alleged factual justification for the Bar’s

intrusive demand for a mental health examination and I am aware of no basis for this

unprecedented demand on a member of the Bar of Georgia.” Mr. Wood requested a

reasonable extension of time to formally respond to the Bar’s demands, and to locate

counsel to represent him. (A true and correct copy of this letter dated February 18,

2021 is Exhibit B in the Appendix of Exhibits).

     On March 2, 2021, Mr. Wood followed up with a second letter to Ms. Frederick

and again requested that she provide him information to assist him in the selection

of counsel to represent him in this proceeding. He also renewed his request that the

Defendants provide him with an explanation of the basis of its determination that he

undergo a mental examination.

      Finally, you have asked for a psychological examination, but that seems
      premature if there is no basis for your statements that I "appear[] to be
      impaired to practice law" So far, nothing in the Complaint has dealt in
      any way with my conduct in the practice of law. Proposed Counsel
      have asked if there is any specific case which serves as the basis for the
      Bar to challenge my competency to practice law or which justifies an
      allegation that I "appeared" impaired. Have you or the Bar identified
      any case in which a client or former client complained that my


                                          7
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 8 of 20




      competency was impaired, if so, which case? Existing case law only
      includes arguments for such an examination only after such a hearing
      had been held and evidence had been presented regarding the attorney's
      substance abuse or mental incapacities - in all cases which affected his
      or her competency as a lawyer.

      Rule 4-104 reviews are limited to specific and "appropriate"
      examinations that are tied to a "determination" by the "State
      Disciplinary Board". There has been no such determination; or, if there
      has, I was not invited to participate in any hearing prior to that
      determination. Proposed Counsel has requested copies of that
      determination, and the basis on which that determination was made. If
      it does not exist, we suggest that you postpone or rescind this action
      until such time as an appropriate hearing as to the basis for such a
      determination is presented and heard.

      (A true and correct copy of the letter from L. Lin Wood, Jr. to Paula A.
      Frederick dated March 2, 2021 is Exhibit C in the Appendix of
      Exhibits).


    As of the date of this motion, Mr. Wood has not received any written findings

on which the Defendants based their determination that he submit to a mental

evaluation; nor has he been advised of the basis on which that determination was

made; nor has he been allowed to present evidence or confront witnesses against him

who accuse him of being in need of a mental evaluation.

    The Plaintiff does not suffer from any mental illness, cognitive impairment,

alcohol abuse, or substance abuse. (Verified Complaint at ¶ 36.)

    Not one of the Plaintiff’s clients or former clients has complained to the Bar that

he has exhibited any signs of “mental illness, cognitive impairment, alcohol abuse,

or substance abuse” which are the sole predicate factors stated in Rule 4-104 for


                                          8
       Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 9 of 20




determining an attorney’s need for a referral to an appropriate medical or mental

health professional.

    An attorney who fails or refuses to undergo a mental evaluation when requested

to do so by the State Disciplinary Board faces a grave and imminent threat of serious

disciplinary sanctions, including the emergency suspension of his law license and

ability to earn a livelihood. GA BAR RULE 4-104(2) specifically provides as

follows:

        A lawyer’s refusal to cooperate with the medical or mental
        health professional or to participate in the evaluation or
        recommended treatment may be grounds for further proceedings
        under these Rules, including emergency suspension proceedings
        pursuant to Rule 4-108.


      The Defendants’ actions compelling the Plaintiff to undergo a mental

evaluation or else incur likely disciplinary sanctions are motivated, in whole or in

part, on the Plaintiff’s exercise of his free speech as a private citizen on matters of

national and inherent public concern and on his legal advocacy calling into question

certain practices by election officials in Georgia and elsewhere in the country.

      The Defendants’ insistence that the Plaintiff submit to a psychological mental

evaluation also poses a significant threat of intrusion into the Plaintiff’s privacy and

infringes upon his constitutional rights as protected under the First Amendment of

the United States Constitution.




                                           9
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 10 of 20




      Plaintiff has moved this Court under Rule 65(a) of the Federal Rules of Civil

Procedure to enter a preliminary injunction to maintain the status quo and to enjoin

or restrain the Defendants, and all those acting in concert with them, from proceeding

further with any formal disciplinary action by virtue of the Plaintiff’s refusal to

submit to an involuntary mental evaluation pending a hearing on Plaintiff’s request

for preliminary injunctive relief and the further orders of this Court.

                                   ARGUMENT

      I.     The Plaintiff Meets The Criteria For Preliminary Injunctive Relief.

      A preliminary injunction is granted when (1) the plaintiff is likely to succeed

on the merits of his or her claims; (2) the plaintiff would suffer irreparable harm in

the absence of an injunction; (3) the harm suffered by the plaintiff absent an

injunction would exceed the harm that the injunction would cause the defendant; and

(4) an injunction would not disserve the public interest. See Lebron v. Sec’y, Fla.

Dep’t of Children and Families, 710 F.3d 1202, 1206 (11th Cir. 2013). As set forth

in the Affidavit of L. Lin Wood, and the brief and exhibits filed contemporaneously

with this motion, Plaintiff meets the requirements for a preliminary injunction

ordering relief under 42 U.S.C. § 1983.

             A.     Likelihood of Success On The Merits.

      “The balance between an attorney’s right to free political speech and a state’s

right to regulate attorney conduct is delicate.” Berry v. Schmitt, 688 F.3d 290, 290



                                          10
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 11 of 20




(6th Cir. 2012). Were this case about the state’s right to sanction Plaintiff’s past

speech conduct during a judicial proceeding, or his demonstrated lack of mental

competence in his representation of a client, it would present a far different balance

of competing interests. It does not. Rather, this case seeks prospective relief to

prevent the Defendants from arbitrarily carrying out their threat to impose

disciplinary action, up to and including the emergency suspension of the Plaintiff’s

law license, based solely on non-client complaints of his exercise of protected speech

activity.

       Though the right to practice law is not a natural or constitutional right or an

absolute or de jure right, it is a valuable special privilege in the nature of a franchise

which may be protected by injunction against invasion. Boykin v. Hopkins, 174 Ga.

511, 162 S.E. 796; People ex rel. Illinois State Bar Association v. People's Stock

Yards State Bank, 344 Ill. 462, 176 N.E. 901; Smith v. Illinois Adjustment Finance

Company, 326 Ill.App. 654, 63 N.E.2d 264; *517 In re Harrison, 231 Ind. 665, 109

N.E.2d 722; In re Carver, 224 Mass. 169, 112 N.E. 877; Unger v. Landlords'

Management Corporation, 114 N.J.Eq. 68, 168 A. 229; In re Co-Operative Law

Company, 198 N.Y. 479, 92 N.E. 15, 32 L.R.A.,N.S., 55, 139 Am.St.Rep. 839, 19

Ann.Cas. 879; Land Title Abstract and Trust Company v. Dworken, 129 Ohio St. 23,

193 N.E. 650; **430 Dworken v. Apartment House Owners Association of

Cleveland, 38 Ohio App. 265, 176 N.E. 577; In re Application for License to Practice



                                           11
       Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 12 of 20




Law, 67 W.Va. 213, 67 S.E. 597; 5 AM.JUR., Attorneys at law, Section 14; 7 C.J.S.,

Attorney and Client, Section 4b.

       As in all instances in which a statute or governmental regulation is subjected

to a challenge on constitutional grounds, if an attorney can show that the

recommended discipline infringes on First Amendment rights, the State Bar has the

burden of demonstrating that the regulation in question is necessary to further a

compelling state interest. N.A.A.C.P. v. Button (1963) 371 U.S. 415, 438, 83 S.Ct.

328, 9 L.Ed.2d 405.)

       In virtually every case in which a Georgia attorney has been ordered to

undergo a mental evaluation under GA BAR RULE 4-104 there was first a threshold

determination based on complaints from the attorney’s clients which raised concerns

of some significant impairment or disability that interfered with the attorney’s ability

to competently represent his clients’ interests.1




1
 See In re Rand, 616 S.E.2d 452, 453, 279 Ga. 555, 556 (2005)(special master found that attorney
suffered a significant mental disability and because of that disability failed to account properly for
funds held in a fiduciary capacities and that he applied settlement funds improperly); In re
Giallanza, 695 S.E.2d 254, 254, 287 Ga. 257, 257 (2010)(six separate grievances filed against
filed by clients against attorney for mishandling and misappropriation of client funds found to
suffer from dementia); Matter of Levine, 811 S.E.2d 349, 350–51, 303 Ga. 284, 286
(2018)(attorney sanctioned under Rule 4-104 who admittedly was suffering mental and emotional
impairments arising out of his on-going divorce action and preexisting medical issues); In re
Morales, 651 S.E.2d 84, 86, 282 Ga. 471, 472 (2007)(attorney admitted that he suffered from
mental and showed strong feelings of paranoia and persecution); Matter of Tapley, 842 S.E.2d 36,
37, 308 Ga. 577, 578 (2020)(attorney who was in his 80s admitted that he was no longer
“physically and mentally able to adequately represent his clients” and that he was “just not up to
the pressure”).


                                                 12
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 13 of 20




    As for the insinuation by one of the non-client, out-of-state grievants that the

Plaintiff has frivolously filed “multiple court challenges to overturn Mr. Trump’s

election loss” The concerns of lack of integrity in the election process in November

of 2020, as litigated by the Plaintiff have recently been vindicated by Supreme Court

Justice Clarence Thomas:

    That is not a prescription for confidence. Changing the rules in the middle
    of the game is bad enough. Such rule changes by individual and officials
    who may lack authority to do so is even worse. When those changes alter
    election results, they can severely damage the electoral system on which
    our self-governance so heavily depends. If state individual and officials
    have the authority they have claimed, we need to make it clear. If not, we
    need to put an end to this practice now before the consequences become
    catastrophic.

    Republican Party of Pennsylvania v. Degraffenreid, 592 U.S. ____ (2021), J.
    Thomas dissenting from denial of certiorari (joined in a separate dissent by
    Alito and Gorsuch, JJ).

    The validity of some of the concerns litigated by the Plaintiff have also been

vindicated in other jurisdictions. In the matter of Robber Genetski, County of

Alleghan Clerk, and Michigan Republican Party v. Jocelyn Benson and Jonathan

Brater, Director of Elections (Case No. 20-000216-MM), the State of Michigan

Court of Claims ruled on March 9, 2021 that the Director of Elections’ “guidance”

to absentee voters via its “Absent Voter Ballot Processing: Signature Verification

and Voter Notification Standards” violated Michigan’s Administrative Procedures

Act (“APA”). The Court in Michigan found that the changes that Michigan’s

Secretary of State Jocelyn Benson made to the absentee ballots’ examination process


                                         13
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 14 of 20




had to have been promulgated by the Legislature pursuant to APA’s procedures, and

because it was not, the rule was declared invalid. Plaintiff L. Lin Wood, in his

Georgia election integrity lawsuits, challenged similar issues, i.e., the illegality of

the Compromise Settlement Agreement and Release that Georgia’s Secretary of

State entered on March 6, 2020, without the Legislature’s input, altering Georgia’s

mail-in voting and absentee ballots’ review.

     In addition, the Plaintiff has demonstrated a likelihood that the Defendants'

actions in ordering him to submit to a mental examination are substantially

motivated as a response to Plaintiff’s exercise of constitutionally protected conduct.

At the time the Defendants made their determination that Mr. Wood should undergo

a mental examination the only “evidence” before the Defendants were the four, out-

of-state grievances which relied exclusively as the basis of their complaints the

comments posted to Plaintiff’s personal social media. A close temporal nexus

between protected speech activity and retaliatory action can serve as a sufficient

basis for an inference that the government acted out of an improper motive. Joyner

v. City of Atlanta, 2018 WL 1442931, at *5 (N.D.Ga. 2018). The fact that the

Defendants have failed to come forward, despite three requests by the Plaintiff, with

any evidence to support their determination strengthens the inference that this

determination was made on the basis of the statements contained in the four out-of-

state grievances attacking the Plaintiff’s political expression.



                                          14
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 15 of 20




    B.       The Plaintiff Will Suffer Irreparable Harm In The Absence of An
             Injunction.

    “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 96 S.Ct. 2673, 2690,

427 U.S. 347, 373–74 (1976). See New York Times Co. v. United States, 403 U.S.

713, 91 S.Ct. 2140, 29 L.Ed.2d 822 (1971). In the instant case such injury is both

threatened and occurring at the time of Plaintiff’s motion and demonstrates a

probability of success on the merits and a basis granting the requested preliminary

injunctive relief. See Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67, 83 S.Ct. 631,

637, 9 L.Ed.2d 584 (1963).

    The February 11, 2021 letter from Paula J. Frederick cites to the likelihood that

the Defendants will invoke GA BAR RULE 4-104 and may seek disciplinary

sanctions up to, and including, the threat of emergency suspension of the Plaintiff’s

license to practice law if he fails to accede to their demand that he submit to an

involuntary mental examination. This warning alone more than subjectively

threatens the likelihood of imminent and irreparable injury.

    The threat of a state-imposed mental examination in the absence of any credible

evidence that such is warranted, and motivated out of concerns over an attorney’s

political expressions is a powerful proven means of suppressing free speech. Cf. A.

Rodriguez, “Russian dissidents called mentally ill,” Chicago Trib. (August 7, 2007)

(Citing Victor Bukovsky recording current Russian psychiatry as resuming the


                                         15
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 16 of 20




Soviet use of psychiatry to quell political opposition: “Soviet psychiatrists revised

definitions of mental illnesses, describing paranoia as an obsession with "the

struggle for truth and justice,’” or “delusion of reform;” “[U]sing psychiatry for

political purposes is a perfectly acceptable way of dealing with opponents," further

referencing the psychiatric detention of a lawyer who won “too many” human rights

cases. Available       at https://www.chicagotribune.com/news/ct-xpm-2007-08-07-

0708070053-story.html.

     C.      The Plaintiff Has A Reasonable Expectation of Privacy In Not
             Submitting To A Government Compelled Psychiatric
             Examination.

     It is now well established that the United States Constitution provides

protection of an individual's privacy. See Whalen v. Roe, 429 U.S. 589, 599–600, 97

S.Ct. 869, 876–77, 51 L.Ed.2d 64 (1977); United States v. Westinghouse Electric

Corp., 638 F.2d 570, 577 (3d Cir.1980). This constitutional right of privacy extends

to two types of interests:

     “One is the individual interest in avoiding disclosure of personal matters, and

another is the interest in independence in making certain kinds of important

decisions.” Whalen v. Roe, 429 U.S. 589, 599–600 [97 S.Ct. 869, 876–77, 51

L.Ed.2d 64] (1977) (footnotes omitted). The latter decisions have encompassed

“matters relating to marriage, procreation, contraception, family relationships, and

child rearing and education.” Paul v. Davis, 424 U.S. 693, 713, 96 S.Ct. 1155, 1166,



                                         16
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 17 of 20




47 L.Ed.2d 405 (1976). It is the former zone of privacy that is implicated in the

instant case, i.e. the forced medical examination and disclosure of medical

information.

     In his dissent in Olmstead v. United States, 277 U.S. 438, 478, 48 S.Ct. 564,

572, 72 L.Ed. 944, Mr. Justice Brandeis characterized “the right to be let alone” as

“the right most valued by civilized men”. In Griswold v. Connecticut, 381 U.S. 479,

483, 85 S.Ct. 1678, 1681, 14 L.Ed.2d 510, the Court said: “(T)he First Amendment

has a penumbra where privacy is protected from governmental intrusion.” See also

Stanley v. Georgia, 394 U.S. 557, 89 S.Ct. 1243, 22 L.Ed.2d 542; California Bankers

Assn. v. Shultz, 416 U.S. 21, 79, 94 S.Ct. 1494, 1526, 39 L.Ed.2d 812 (Douglas, J.,

dissenting); id., at 78, 94 S.Ct., at 1525 (Powell, J., concurring).

     Government intrusion into one’s medical information is subject to heightened

constitutional scrutiny. As recognized by the Third Circuit Court of Appeals in

Fraternal Order of Police, Lodge No. 5 v. City of Philadelphia, 812 F.2d 105, 112–

13 (3rd Cir.1987) :

     In determining whether information is entitled to privacy protection, we
     have looked at whether it is within an individual's reasonable
     expectations of confidentiality. The more intimate or personal the
     information, the more justified is the expectation that it will not be
     subject to public scrutiny. See Westinghouse, 638 F.2d at 577 & n. 5.
     Applying this approach, we have repeatedly held that medical
     information such as that sought by questions 18, 19 and 20 is entitled
     to privacy protection against disclosure. . .In fact, medical information
     may be accorded special treatment under various rules and statutes in
     recognition of its confidential character. See, e.g., Fed.R.Civ.P. 35


                                           17
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 18 of 20




    (higher burden for discovery of medical information than for discovery
    generally); Freedom of Information Act, 5 U.S.C. § 552(b)(6)
    (exemption of medical files).


     D. The Harm Suffered By The Plaintiff Absent An Injunction Would
        Exceed The Harm That The Injunction Would Cause The Defendant.

      The specific relief sought by the Plaintiff in this motion is a preliminary

injunction preserving the status quo and containing the following terms:

      1. Defendants, acting in their capacity as members of the State Disciplinary

Board, their attorneys, and all persons acting in concert with them having notice,

shall be and hereby are restrained and enjoined from proceeding with any action in

furtherance of their requirement that the Plaintiff undergo a mental evaluation or

examination;

      2.   Pending the further orders of this Court, Defendants, their attorneys and

those acting in concert with them, are enjoined and restrained from imposing any

disciplinary action or otherwise taking any adverse action against the Plaintiff by

virtue of his failure or refusal to undergo a mental evaluation or examination;

      There is no evidence that the Defendants would suffer any harm or prejudice

in the event this requested preliminary injunctive relief were granted. Certainly, any

claim of prejudice by the Defendants pales in comparison to the irreparable harm

that will likely be suffered if they are permitted to proceed with the compelled

psychiatric examination and/or emergency suspension of the Plaintiff’s law license.



                                         18
      Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 19 of 20




      E.     An Injunction Would Not Disserve The Public Interest.

      The balance-of-the-harms and public-interest factors “merge” when, as here,

the Government is the opposing party. Swain v. Junior, 961 F.3d 1276, 1293 (11th

Cir. 2020), citing Nken v. Holder, 556 U.S. 418, 435, 129 S.Ct. 1749, 173 L.Ed.2d

550 (2009). The Eleventh Circuit Court of Appeals has held that “the public interest

is always served in promoting First Amendment values.” Rubin v. Young, 373

F.Supp.3d 1347, 1354 (N.D.Ga. 2019), citing Suntrust Bank v. Houghton Mifflin

Co., 268 F.3d 1257, 1276 (11th Cir. 2001). The Plaintiff’s requested preliminary

injunctive relief is not adverse to the public interest.

                                    CONCLUSION

      The Court should grant a preliminary injunction.



                                                 Respectfully submitted,

                                                 By: /s/ Larry L. Crain
                                                 Larry L. Crain, Esq.
                                                 (Tenn. Supr. Crt. #9040)
                                                 CRAIN LAW GROUP, PLLC
                                                 5214 Maryland Way, Suite 402
                                                 Brentwood, TN 37027
                                                 Tel. 615-376-2600
                                                 Fax. 615-345-6009
                                                 Email: Larry@crainlaw.legal


                                                 Counsel for the Plaintiff
                                                 (Pro Hac Vice Pending)



                                           19
Case 1:21-cv-01169-TCB Document 29-1 Filed 03/29/21 Page 20 of 20




                                    /s/ Ibrahim Reyes
                                    Ibrahim Reyes, Esquire
                                    Florida Bar No. 581798
                                    REYES LAWYERS, P.A.
                                    236 Valencia Avenue
                                    Coral Gables, FL 33134
                                    Tel. 305-445-0011
                                    Fax. 305-445-1181
                                    Email:ireyes@reyeslawyers.com

                                    Counsel for the Plaintiff
                                    (Pro Hac Vice Pending)


                                    /s/ L. Lin Wood, Jr
                                    L. Lin Wood, Jr., Esq.
                                    State Bar No. 774588
                                    L. LIN WOOD, P.C.
                                    P.O. Box 52584
                                    Atlanta, GA 30355-0584
                                    Tel. 404-891-1402
                                    Fax. 404-506-9111
                                    Email: lwood@linwoodlaw.com

                                    Counsel, Pro Se




                               20
